Dear Mr. Diasselliss:
Your request for an Attorney General's Opinion has been referred to me for consideration and response.  You have asked the following questions:
(1)   How long must a school board retain student records?
(2)   May a student's records be destroyed at some point in time?
     (3)   May a parent, parents, student, or anyone on their behalf, request the student's records to be destroyed at any time?
In Attorney General Opinion Number 92-307, this office addressed the question of what type of information has to be retained by a school board on students who have graduated, expired or permanently left the school system.  In answer to this question, we noted that a determination must first be made as to whether the records in question are "public records."  If so, they are subject to the Public Records Act, LSA-R.S. 44:1 et seq.  Under LSA-R.S. 44:36 all persons having custody or control of any public record shall preserve them for at least three years from the date on which the public record was made. Thus, in Opinion Number 92-307 we concluded that school records held by a parish superintendent, pursuant to LSA-R.S. 17:415
(the annual school report submitted to the Department of Education), are subject to these provisions.
Further, all records held by a public body, such as a school board, are also subject to these provisions though information which is considered confidential, i.e. student grades, medical records, and any other personal information, are excluded from coverage under the Public Records Act.
As to the confidential student records held by school boards, there is no statutory requirement for the retention of such records.  Thus, any rules or regulations promulgated by the State Board of Elementary and Secondary Education ("BESE") concerning this matter should be consulted.
It should be noted that under federal law the confidentiality of student records is protected by 20 U.S.C. § 1232g. This provision prohibits all educational institutions who receive federal funds from releasing any protected information about a student.  Information which is "directory information" may be released without losing federal funds.  The only federal provisions concerning a time period for the retention of such records, however, deals specifically with the records of special education students. See 42 Fed. Reg. 121 A. 573.
Absent any statutory or BESE regulatory requirement a school is not required to maintain records after a student has ceased to be enrolled in school and may destroy such records. This may be done pursuant to a policy adopted by the school board under its general powers, LSA-R.S. 17:81.  The school board policy may incorporate a requirement that the records be destroyed upon the request of a student, his or her parents, or an agent acting on behalf of the student or parents.  Again, those records which are not confidential and which are subject to the Public Records Act must be retained for the required period of time.
It is, therefore, the opinion of this office that the Public Records Act applies to records held by a school, school board, or superintendent unless such records are confidential in nature.  Confidential or personal information concerning a student is not subject to the Act but schools and superintendents are required to keep records, pursuant to LSA-R.S. 17:415, as prescribed by the Superintendent of Education.
Schools and school boards must also follow BESE rules concerning the retention of such records.  In the absence of any rule mandating the retention of such records, school boards may adopt their own policies for the retention and destruction of student records after the student has ceased to be enrolled in school.
I trust that this sufficiently answers your questions.  If you require further assistance, please feel free to call on this office.
Yours very truly,
                           RICHARD P. IEYOUB Attorney General
                           BY: BETH A. CONRAD Assistant Attorney General
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